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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF NEW YORK
__________________________________________

UNITED STATES OF AMERICA
                                                                                DECISION AND
                                                                                ORDER DENYING
                                                                                MOTION FOR
                                                                                SENTENCE REDUCTION
                                                                                PURSUANT TO 18 U.S.C.
                                                                                § 3582(c)(2)
-vs-
                                                                                10-CR-6058-CJS-10
ALTON MAJORS, a/k/a “Streets,”
                                Defendant.
__________________________________________


                                              INTRODUCTION

         Now before the Court is Defendant Alton Majors’ (“Majors”) motion for sentence

reduction pursuant to 18 U.S.C. § 3582(c)(2). The application is denied.

                                               BACKGROUND

         On September 22, 2010, Majors pled guilty, pursuant to a Plea Agreement

(Docket No. [#161]), to a one-count superseding indictment charging him with violating

21 U.S.C. § 846, conspiracy to possess with intent to distribute, and to distribute, five

(5) grams or more of cocaine base. As part of the plea, Majors agreed that “[a]t least

150 grams but less than 500 grams of cocaine base [was] the amount involved in [his]

relevant conduct.”1 Majors further agreed that U.S. Sentencing Guidelines sections

“2D1.1(a)(5)(B)(i)2 and 2D1.1(c)(4)3 appl[ied] to the offense of conviction and provide[d]


         1
           Plea Agreement [#161] at p. 4.
         2
            “Base Offense Level (Apply the greatest): . . . the offense level specified in the Drug Quantity Table
set forth in subsection (c), except that if (A) the defendant receives an adjustment under §3B1.2 (Mitigating
Role); and (B) the base offense level under subsection (c) is (i) level 32, decrease by 2 levels;”
          3
            Indicating that for “[a]t least 150 G but less than 500 G of Cocaine Base” the base offense level was
32.


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for a base offense level of 30,” and that he would receive a “two (2) level decrease

pursuant to Guidelines § 3B1.2(b) (minor role in offense).”4 In other words, the Plea

Agreement indicated that because the amount of cocaine base involved was at least

150 grams but less than 500 grams,” Majors’ base offense level would ordinarily be 32,

but because he was receiving an adjustment for a mitigating role, the base offense level

was reduced two levels, to 30.

       On March 29, 2011, U.S. Probation prepared a Presentence Investigation Report

(“PSR”) [#245] which calculated Majors’ sentencing range under the advisory

sentencing guidelines. The PSR noted that the Sentencing Guidelines had changed

since the date of the Plea Agreement. More specifically, revised § 2D1.1(c) did away

with the range of “at least 150 grams but less than 500 grams” of cocaine base, and

instead, established, inter alia, a range of “at least 112 G but less than 196 G of

Cocaine Base,” for a Base Offense Level of 28, § 2D1.1C(6); a range of “at least 196 G

but less than 280 G of Cocaine Base,” for a Base Offense Level 30, § 2D1.1(c)(5); and

a range of “at least 280 G but less than 840 G of Cocaine Base,” for a Base Offense

Level of 32, § 2D1.1(c)(4).             In calculating Majors’ Base Offense Level, Probation

indicated, in the PSR, that it had taken the low end of the range to which he had pled

guilty (150 grams), and used it to find of Base Offense Level of 28, pursuant to §

2D1.1(c)(6) (at least 112 grams but less than 196 grams). In that regard, the PSR

stated, “This range was selected as it is the first level that incorporates the minimum

(150 grams) originally agreed to by the parties.”5


       4
           Plea Agreement [#161] at pp. 4-5.
       5
           PSR at p. 14, ¶ 49.


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        On April6 28, 2011, counsel and Majors appeared before the undersigned for

sentencing. At that time, the Court noted that the Government had indicated, in its

response to the PSR, that the correct base offense level was 30, not 28. Mr. Marangola

(“Marangola”), the Assistant United States Attorney, explained that while the parties had

agreed to a range of 150 grams to 500 grams, the amount was actually “far more than

the 150 grams,” and “closer to 500 [grams].”7                      In response to those statements,

Defendant and his counsel agreed that the true amount of cocaine base at issue was

“more than 196 grams,” and that the correct base offense level was 30. 8 Assistant U.S.

Attorney Marangola then clarified that when he said the amount was “closer to 500

grams,” he meant that the amount was actually “between 280 [grams] and 840 [grams],

not [between] 196 [grams] and 280 [grams].” However, Marangola indicated that the

base offense level would be 30, based upon the application of § 2D1.1(a)(5)(B)(i), as

agreed in the Plea Agreement.9 In other words, Marangola stated that Majors was

responsible for between 280 grams and 840 grams of cocaine base, which ordinarily

would result in a base offense level of 32 under § 2D1.1(c)(4), but which, due to the

application of § 2D1.1(a)(5)(B)(i) (because Majors was going to receive an adjustment

for a minor role), would result in a base offense level of 30.10 Defendant did not object

to Marangola’s calculation. Rather, in response to the Court’s question, Majors and his

counsel agreed with Marangola’s calculation.11                               Further, Majors’ attorney


        6
          The transcript of the appearance [#425] incorrectly states the date as being February 28, 2011.
        7
          Transcript [#425] at p. 11; see also id. at pp. 12, 13.
        8
          Transcript [#425] at p. 16.
        9
          Transcript [#425] at pp. 16-17.
        10
           Transcript [#425] at pp. 17-18.
        11
           Transcript [#425] at p. 18. Initially, Majors’ attorney, Mr. Funk, indicated that he agreed that the
amount was “more than 196 grams,” without indicating how much more. Id. at p. 16. In other words, Funk did
not indicate that the amount was less than a particular amount, just that it was more than 196 grams. After
Marangola indicated that the amount was actually “between 280 and 840,” Funk raised no objection, and


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acknowledged that if Majors challenged the amount of cocaine base at issue, he could

face an enhancement for obstruction of justice.12

         The parties disagreed, however, as to whether Majors should lose points for

acceptance of responsibility, which had been agreed to in the plea agreement, due to

the fact that he had engaged in further criminal conduct after taking the plea. The Court

adjourned the matter to allow further research and briefing on that issue.

        On May 19, 2011, Majors submitted an updated sentencing memorandum [#241]

addressed solely to the issue of acceptance of responsibility. Majors did not attempt to

revisit the discussion concerning calculation of the base offense level.

        On May 25, 2011, the parties again appeared before the Court for sentencing.

See, Transcript [#277].         Initially, the Court ruled upon the issue of acceptance of

responsibility. Then, there was further discussion among the parties, wherein it was

agreed, again, that the correct base offense level was 30.13 In that regard, Marangola

referenced not only the discussion at the prior appearance, but also his sentencing

memorandum, filed on April 20, 2011, in which he indicated that the correct range of of

cocaine base was 280-840 grams.14 Once again, Majors did not object, but rather, his

counsel stated, “I believe we acknowledged that last time we were here.” 15 The Court

further stated, without objection, “I determined that your base offense level is 30. Now,

that is by agreement on both sides.”16




indicated that he and Majors agreed with Marangola’s calculation of the base offense level. Id. at 18.
         12
            Transcript [#425] at p. 16.
         13
            Transcript [#277] at p. 16.
         14
            Transcript [#277] at p. 16 (referencing the Government’s sentencing memorandum, docket no.
[#266]).
         15
            Transcript [#277] at p. 16.


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      Consequently, the Court calculated Majors’ sentencing range under the advisory

guidelines, using a base offense level of 30, (premised upon 280-840 grams of cocaine

base, Guidelines § 2D1.1(c)(4) = Level 32, which was reduced to Level 30 pursuant to

2D1.1(a)(5)(B)(i)), which was then adjusted down to 28 based upon Majors’ minor role

in the conspiracy. Using an adjusted offense level of 28 and a criminal history category

of III, the Court found that Majors’ advisory sentencing range was “97 to 121 months.” 17

The Court sentenced Majors to the low end of that range, 97 months.

      On April 27, 2015, Majors filed a motion [#385], pursuant to 18 U.S.C. §

3582(c)(2), asking that his sentence be reduced to 78 months. Majors indicated that on

April 30, 2014, the United States Sentencing Commission had amended the guidelines’

drug quantity table, “resulting in lower guideline ranges for most drug-trafficking

offenses.”     Majors indicated that with these amendments, his revised advisory

sentencing range was 78 months to 97 months. Apparently, in that regard, Majors

calculated that his adjusted offense level would be 26. (Adjusted offense level of 26

with a criminal history category III = range of 78-97 months).       However, the Court

denied the application, finding that despite the amendments to the guidelines, Majors’

sentencing range was still 97 to 121 months. The Court stated: “The high end of the

agreed upon range was 500 grams of cocaine base. Accordingly, under the applicable

amended guidelines, the offense level remains at 30, which after the two level

adjustment for role in the offense, becomes 28, and with a Criminal History category of

III, the guideline remains unchanged at 97 to 121 months.” Order [#419].


      16
         Transcript [#277] at p. 28.
      17
        Transcript [#277] at pp. 28-29.


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       Majors appealed. Apparently on appeal, the Assistant United States Attorney

handling the appeal, who was not Marangola, incorrectly “conceded” that “Majors’

original sentence was based on a range of 196 to 280 grams of cocaine base.” Second

Circuit’s Summary Order [#436]. The Second Circuit remanded the case, directing this

Court to clarify the basis for its denial of Majors’ motion. In that regard the Circuit Court

noted that there was ambiguity as to how the Court had originally arrived at the base

offense level of 30, stating:

       [U]nder the version of the United States Sentencing Guidelines in effect at
       Majors’s original sentencing, Majors’s base offense level of 30 could have
       been calculated based on a finding of either 196 to 280 grams or 280 to
       840 grams of cocaine base. See U.S. Sentencing Guidelines Manual
       Supp. § 2D1.1(c)(4)– (5) (U.S. Sentencing Comm’n 2010) (setting a base
       offense level of 30 for 196 to 280 grams of cocaine base and a base
       offense level of 32 for 280 to 840 grams of cocaine base); U.S.
       Sentencing Guidelines Manual § 2D1.1(a)(5)(B)(i) (U.S. Sentencing
       Comm’n 2010) (decreasing base offense level of 32 by two if defendant
       receives a mitigating role adjustment, as Majors did); Joint App. 89–91.
       This ambiguity is compounded by the fact that, on appeal, the government
       concedes that Majors’s original sentence was based on a range of 196 to
       280 grams of cocaine base. Majors would be eligible for a sentence
       reduction if the 2014 Guidelines were applied to this range and other
       aspects of his Guidelines calculation remained the same. See U.S.
       Sentencing Guidelines Manual § 2D1.1(c)(6) (U.S. Sentencing Comm’n
       2014).

Id. at pp. 3-4 (emphasis added).

                                       DISCUSSION

       Consistent with the Second Circuit’s direction, the Court clarifies that Majors’

original sentence was based upon a drug quantity of 280 to 840 grams of cocaine base,

which, due to the application of § 2D1.1(a)(5)(B)(i), resulted in a base offense level of


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30, rather than 32. The Government was mistaken insofar as it stated, on appeal, that

the drug quantity was 196 to 280 grams. Moreover, applying that quantity (280 to 840

grams of cocaine base) to the amended guidelines still results in a base offense level of

30, § 2D1.1(c)(5). That is because under the amended guidelines, § 2D1.1(a)(5)(B)(i)

no longer applies to Majors, since it does not pertain where the base offense level is

only 30. In effect, therefore, under the amended guidelines, Major loses the benefit

under § 2D1.1(a)(5)(B)(i) that he had under the guidelines at the time of sentencing.

With a base offense level of 30 and a two-level reduction for a minor role, Majors still

has an adjusted offense level of 28 and a criminal history category III, which still results

in a sentencing range of 97-121 months. Accordingly, Majors’ sentencing range under

the advisory guidelines did not change, despite the amendments.

       The application under § 3582(c)(2) is therefore denied. See, United States v.

Arcinegas, No. 15-2333-CR, 2017 WL 1437105, at *1 (2d Cir. Apr. 24, 2017) (“A district

court may not reduce a sentence under § 3582(c)(2) if a retroactive amendment “does

not have the effect of lowering the defendant's applicable guideline range.” U.S.S.G. §

1B1.10(a)(2)(B), (d); see also United States v. Martinez, 572 F.3d 82, 85–86 (2d Cir.

2009).”); see also, United States v. Leonard, 844 F.3d 102, 117 (2d Cir. 2016) (“To be

eligible for a sentence reduction under 18 U.S.C. § 3582(c)(2), a defendant must

satisfactorily demonstrate (a) that his sentence was ‘based on’ the Sentencing

Guidelines, and (b) that his ‘applicable’ Guidelines range was lowered by a subsequent

retroactive amendment.”).




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                                      CONCLUSION

         Majors’ application for a reduced sentence pursuant to 18 U.S.C. § 3582(c)(2) is

denied.

         SO ORDERED.

Dated:         Rochester, New York
               June 27, 2017
                                          ENTER:



                                          /s/ Charles J. Siragusa
                                          CHARLES J. SIRAGUSA
                                          United States District Judge




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